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                                #:2908




                        EXHIBIT
Case 2:20-cv-11064-FMO-MRW Document 151-5 Filed 10/11/21 Page 2 of 9 Page ID
                                #:2909

  From:             Vince Finaldi
  To:               scott@lawbylg.com; steven@lawbylg.com
  Cc:               Courtney Pendry; Haley Aanestad; Alex Cunny; Kathy Frederiksen
  Subject:          RE: Roe v. Puig: Mediation.
  Date:             Monday, October 11, 2021 8:40:07 AM
  Attachments:      image002.png


  Scott,

  This is not what the Court ordered. I believe the Order was quite clear. We have no choice but to
  update the Court today, as ordered, regarding the steps that have been taken to try and set up a
  mediation. That will be submitted later today.

  As to mediation, again, we are always willing to mediate. However, it must be with a mediator who
  has the availability, and important, capability, of assisting the parties with this dispute. Mere
  availability is not enough. We have provided the names of several very competent mediators who
  would be appropriate for this task. You have offered some as well, and we have even agreed to one
  of them. What we do not have from you is commitment to a date, or a response to our offer. If you
  have either, please forward and we will respond quickly.

  Thanks,

  Vince William Finaldi, Esq.
  MANLY, STEWART & FINALDI
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  Irvine, California 92612
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  From: scott@lawbylg.com <scott@lawbylg.com>
  Sent: Friday, October 8, 2021 5:41 PM
  To: Vince Finaldi <vfinaldi@manlystewart.com>; steven@lawbylg.com
  Cc: Courtney Pendry <cpendry@manlystewart.com>; Haley Aanestad
  <haanestad@manlystewart.com>; Alex Cunny <acunny@manlystewart.com>; Kathy Frederiksen
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  Subject: RE: Roe v. Puig: Mediation.
Case 2:20-cv-11064-FMO-MRW Document 151-5 Filed 10/11/21 Page 3 of 9 Page ID
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  Vince, regarding a mediation, we obviously do not want to do anything against a court order.
  Assuming you are OK with using a lower-price mediator (we will put in the effort to find options), we
  can jointly advise the Court that there was already a pre-filing mediation, that we are in the process
  of providing you information important for settlement purposes that we would like to complete
  prior to a second mediation, and request additional time to complete a mediation.


  Scott Lesowitz
  Lesowitz Gebelin LLP
  8383 Wilshire Boulevard, Suite 800
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  310-341-3076


  From: Vince Finaldi <vfinaldi@manlystewart.com>
  Sent: Friday, October 8, 2021 5:29 PM
  To: scott@lawbylg.com; steven@lawbylg.com
  Cc: Courtney Pendry <cpendry@manlystewart.com>; Haley Aanestad
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  <kfrederiksen@manlystewart.com>
  Subject: RE: Roe v. Puig: Mediation.

  Scott,

  The Court set a deadline of Monday. Yes, it’s a holiday, but I would not make the mistake of
  assuming that it isn’t a deadline—the Court’s order on this is was clear, and we have all known about
  it for quite some time. I have repeatedly reminded you of it, as well as provide you mediation
  options.

  We will have to comply with the Court’s order by updating the Court as to our progress with
  mediation, and your position. We will prepare a filing. It’s unfortunate that you have chosen to place
  this case on the back burner as I don’t believe that serves either of our clients’ interests.

  Also, as to your offer, I was surprised to see that Mr. Puig owns a Rolls Royce (see his Instagram
  photo from this week), as it was not disclosed on his list of assets that you provided to me last week.
  Does he own it outright? What is his equity in that vehicle? It would seem that, if he could afford a
  Rolls Royce, he would be able to afford the cost of a mediation.
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  I hope you are able to get rest and something to eat.

  Thank you,

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                                #:2912

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  From: scott@lawbylg.com <scott@lawbylg.com>
  Sent: Friday, October 8, 2021 4:58 PM
  To: Vince Finaldi <vfinaldi@manlystewart.com>; steven@lawbylg.com
  Cc: Courtney Pendry <cpendry@manlystewart.com>; Haley Aanestad
  <haanestad@manlystewart.com>; Alex Cunny <acunny@manlystewart.com>; Kathy Frederiksen
  <kfrederiksen@manlystewart.com>
  Subject: RE: Roe v. Puig: Mediation.

  Hello all, I apologize for any issues with Steve and my availability this week for things. Steve has been
  traveling out-of-state this week, and I have been slammed with numerous things coming to a head in
  multiple cases this week, and I have had to put Roe v. Puig on the back burner. I will not be able to
  get discovery responses out today, but please realize there is nothing tactical or strategic about this;
  I am just tired and hungry and have more things I still need to do today, and Steve is I believe on an
  airplane right now. We will get them to you ASAP.

  As for the mediation deadline, we are working with Puig and his representatives on providing the
  best offer they can. Our current thinking is that a mediation would be counter-productive since it
  would cut into funds Puig can pay and would increase costs for Plaintiff unnecessarily and without
  adequate benefit. Since Monday is a holiday, presumably it is not a deadline.

  We will touch base next week. We will have much more availability next week.

  Best regards,
  Scott


  Scott Lesowitz
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                                #:2913



  From: Vince Finaldi <vfinaldi@manlystewart.com>
  Sent: Thursday, October 7, 2021 2:09 PM
  To: scott@lawbylg.com; steven@lawbylg.com
  Cc: Courtney Pendry <cpendry@manlystewart.com>; Haley Aanestad
  <haanestad@manlystewart.com>; Alex Cunny <acunny@manlystewart.com>; Kathy Frederiksen
  <kfrederiksen@manlystewart.com>
  Subject: RE: Roe v. Puig: Mediation.

  Scott,

  Is that a serious question? That mediation was with a completely different set of lawyers, and it was
  pre-litigation, as in before the case was even filed. Thus, the Order of the Court could not have
  applied to that mediation, because it was prior to the Court’s Order being entered and before the
  case was even filed. Again, we have offered you several dates with several mediators. We gave you
  an opening demand. And still, we have nothing. If you can find a mediator who has availability at this
  late hour, please let us know and we will consider. Otherwise, we risk running afoul of the Court’s
  Order and we fully intend to inform the Court that if we miss this deadline, it is not because of the
  Plaintiff.

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  From: scott@lawbylg.com <scott@lawbylg.com>
  Sent: Thursday, October 7, 2021 12:44 PM
  To: Vince Finaldi <vfinaldi@manlystewart.com>; steven@lawbylg.com
  Cc: Courtney Pendry <cpendry@manlystewart.com>; Haley Aanestad
  <haanestad@manlystewart.com>; Alex Cunny <acunny@manlystewart.com>; Kathy Frederiksen
  <kfrederiksen@manlystewart.com>
  Subject: RE: Roe v. Puig: Mediation.
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  Vince, the Court ordered a second mediation? The first mediation didn’t satisfy the requirement?


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  From: Vince Finaldi <vfinaldi@manlystewart.com>
  Sent: Thursday, October 7, 2021 9:07 AM
  To: scott@lawbylg.com; steven@lawbylg.com
  Cc: Courtney Pendry <cpendry@manlystewart.com>; Haley Aanestad
  <haanestad@manlystewart.com>; Alex Cunny <acunny@manlystewart.com>; Kathy Frederiksen
  <kfrederiksen@manlystewart.com>
  Subject: RE: Roe v. Puig: Mediation.

  Scott and Steven,

  Apparently, you don’t seem to believe that the Court’s below Order is either important or an
  imminent issue that deserves our attention—we feel otherwise. Please provide a response to my
  email asap. There is no reason to delay a response to this very important issue.

  Thanks,

  Vince William Finaldi, Esq.
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  From: Vince Finaldi
  Sent: Wednesday, October 6, 2021 3:22 PM
  To: scott@lawbylg.com; 'steven@lawbylg.com' <steven@lawbylg.com>
Case 2:20-cv-11064-FMO-MRW Document 151-5 Filed 10/11/21 Page 8 of 9 Page ID
                                #:2915

  Cc: Courtney Pendry <cpendry@manlystewart.com>; Haley Aanestad
  <haanestad@manlystewart.com>; Alex Cunny <acunny@manlystewart.com>; Kathy Frederiksen
  <kfrederiksen@manlystewart.com>
  Subject: Roe v. Puig: Mediation.
  Importance: High

  Scott and Steven,

  We have given you the names of several potential mediators on multiple occasions. We have offered
  dates, for those mediators, on multiple occasions. We have given you an opening settlement offer as
  well. To date, you have not responded by agreeing to a mediator, or to dates. I have reminded you,
  several times, that the judge in this case set a date for private mediation to be completed. Yet, we
  still have nothing from you and that date is rapidly approaching. Here is the substance of the judge’s
  order:

  4. The parties shall complete their settlement conference before a private mediator
  (“settlement officer”) no later than October 11, 2021. Plaintiff’s counsel shall contact
  the settlement officer with enough time so that the settlement conference date is early
  enough to comply with the settlement completion deadline imposed by this court.
  After obtaining available dates from the settlement officer, counsel for the parties shall
  confer and select one of the proposed dates. Plaintiff’s counsel shall then advise the
  settlement officer of the settlement conference date selected by parties. If the case
  settles, counsel shall file a Notice of Settlement no later than 24 hours after the case
  is settled, stating when they expect to file their dismissal papers. Otherwise, the
  parties must, no later than 48 hours after the settlement conference is
  completed, file a Status Report Re: Settlement. The Status Report shall not
  disclose the parties’ settlement positions, i.e., the terms of any offers or demands.
  The Status Report shall describe the efforts made by the parties to resolve the
  dispute informally, i.e., the occasions and dates when the parties participated in
  mediation or settlement conferences. The Status Report shall also include the name
  of the settlement officer who assisted the parties with their settlement conference.

  Please advise asap, because Plaintiff fully intends to file a report with the Court informing it of the
  steps we have taken to try and schedule a mediation, and the reason why it was not completed.
  Time is of the essence.

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